 Case 1:17-cv-00185-JTN-ESC ECF No. 46 filed 12/29/17 PageID.151 Page 1 of 6



                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION



KOLEAN ENGLAND,

               Plaintiff,                                   Hon. Janet T. Neff

v.                                                          Case No. 1:17-cv-185

JAMES O’BRIANT,

            Defendant.
____________________________________/

                             REPORT AND RECOMMENDATION

               This matter is before the Court on Defendant’s Motion for Summary Judgment, (ECF

No. 34), and Plaintiff’s Declaration for Entry of Default, (ECF No. 38). Pursuant to 28 U.S.C. '

636(b)(1)(B), the undersigned recommends that Defendant’s motion be denied and Plaintiff’s motion

be denied without prejudice.

                                         BACKGROUND

               The following allegations are contained in Plaintiff’s complaint. In October 2010,

Plaintiff retained Defendant, who was then licensed to practice law in Michigan, to file a malpractice

action against another attorney. Plaintiff paid Defendant twenty thousand dollars ($20,000.00) for

his services. During the pendency of this action, Plaintiff retained Defendant to pursue a second

action against Oaklawn Hospital alleging violation of Plaintiff’s rights under the Health Insurance

Portability and Accountability Act of 1996 (HIPAA). Defendant failed to professionally pursue

either action and eventually dismissed both matters with prejudice without first obtaining Plaintiff’s

consent.   After learning of Defendant’s conduct, Plaintiff filed a complaint with the Michigan

                                                -1-
 Case 1:17-cv-00185-JTN-ESC ECF No. 46 filed 12/29/17 PageID.152 Page 2 of 6



Attorney Grievance Commission which ultimately found Defendant guilty of professional misconduct

in several matters, including Plaintiff’s two matters. As a result, Plaintiff was disbarred from

practicing law in the state of Michigan. Plaintiff initiated the present action against Defendant on

February 22, 2017, alleging state law claims for professional negligence and fraud. Defendant now

moves for summary judgment and Plaintiff moves for entry of default judgment.

                              SUMMARY JUDGMENT STANDARD

               Summary judgment Ashall@ be granted Aif the movant shows that there is no genuine

dispute as to any material fact and the movant is entitled to judgment as a matter of law.@ Fed. R.

Civ. P. 56(a). A party moving for summary judgment can satisfy its burden by demonstrating Athat

the respondent, having had sufficient opportunity for discovery, has no evidence to support an essential

element of his or her case.@ Minadeo v. ICI Paints, 398 F.3d 751, 761 (6th Cir. 2005). Once the

moving party demonstrates that Athere is an absence of evidence to support the nonmoving party=s

case,@ the non-moving party Amust identify specific facts that can be established by admissible

evidence, which demonstrate a genuine issue for trial.@ Amini v. Oberlin College, 440 F.3d 350, 357

(6th Cir. 2006).

               While the Court must view the evidence in the light most favorable to the non-moving

party, the party opposing the summary judgment motion Amust do more than simply show that there

is some metaphysical doubt as to the material facts.@ Amini, 440 F.3d at 357. The existence of a

mere Ascintilla of evidence@ in support of the non-moving party=s position is insufficient. Daniels v.

Woodside, 396 F.3d 730, 734-35 (6th Cir. 2005). The non-moving party Amay not rest upon [his]

mere allegations,@ but must instead present Asignificant probative evidence@ establishing that Athere is

a genuine issue for trial.@ Pack v. Damon Corp., 434 F.3d 810, 813-14 (6th Cir. 2006).


                                                 -2-
 Case 1:17-cv-00185-JTN-ESC ECF No. 46 filed 12/29/17 PageID.153 Page 3 of 6



               Moreover, the non-moving party cannot defeat a properly supported motion for

summary judgment by Asimply arguing that it relies solely or in part upon credibility determinations.@

Fogerty v. MGM Group Holdings Corp., Inc., 379 F.3d 348, 353 (6th Cir. 2004). Rather, the non-

moving party Amust be able to point to some facts which may or will entitle him to judgment, or refute

the proof of the moving party in some material portion, and. . .may not merely recite the incantation,

>Credibility,= and have a trial on the hope that a jury may disbelieve factually uncontested proof.@ Id.

at 353-54. In sum, summary judgment is appropriate Aagainst a party who fails to make a showing

sufficient to establish the existence of an element essential to that party=s case, and on which that party

will bear the burden of proof at trial.@ Daniels, 396 F.3d at 735.

               While a moving party without the burden of proof need only show that the opponent

cannot sustain his burden at trial, a moving party with the burden of proof faces a Asubstantially higher

hurdle.@ Arnett v. Myers, 281 F.3d 552, 561 (6th Cir. 2002). Where the moving party has the burden,

Ahis showing must be sufficient for the court to hold that no reasonable trier of fact could find other

than for the moving party.@ Calderone v. United States, 799 F.2d 254, 259 (6th Cir. 1986). The

Sixth Circuit has emphasized that the party with the burden of proof Amust show the record contains

evidence satisfying the burden of persuasion and that the evidence is so powerful that no reasonable

jury would be free to disbelieve it.@ Arnett, 281 F.3d at 561. Accordingly, summary judgment in

favor of the party with the burden of persuasion Ais inappropriate when the evidence is susceptible of

different interpretations or inferences by the trier of fact.@ Hunt v. Cromartie, 526 U.S. 541, 553

(1999).




                                                   -3-
 Case 1:17-cv-00185-JTN-ESC ECF No. 46 filed 12/29/17 PageID.154 Page 4 of 6



                                             ANALYSIS

I.             Defendant’s Motion for Summary Judgment

               Defendant argues that he is entitled to summary judgment on the ground that Plaintiff

has failed to identify any expert witnesses or otherwise indicate that she will at trial present expert

testimony. (ECF No. 35 at PageID.114-15). According to Defendant, “Michigan case law clearly

establishes that the Plaintiff must have expert testimony in a legal malpractice claim.” (ECF No. 35

at PageID.115). Plaintiff counters that testimony from an expert is unnecessary given the nature of

Defendant’s alleged conduct. (ECF No. 43 at PageID.140-44).

               In Jacobson v. Lloyd, 2011 WL 1376312 (Mich. Ct. App., Apr. 12, 2011), Jacobson

employed Lloyd, an attorney, to represent him in an action against Norfolk, a development

corporation. Id. at *1. Jacobson’s claims against Norfolk were eventually dismissed, after which

Jacobson asserted a legal malpractice claim against Lloyd. Id. at *1-2. Lloyd eventually moved for

summary disposition on multiple grounds, including that Jacobson was required under Michigan law

to present expert testimony in support of his legal malpractice claim. Id. at *2. Lloyd’s motion was

granted on the ground that “plaintiff’s promise of producing at some point the necessary expert

testimony is insufficient to create a genuine issue of material fact.” Ibid. Jacobson appealed the

matter arguing, in part, that “summary disposition was improper because defendants’ breach was clear

and obvious such that no expert was required.” Id. at *4.

               The Michigan Court of Appeals denied Jacobson’s appeal, stating that “[a]s a general

rule, expert testimony is required in a legal malpractice action in order to establish the applicable

standard of conduct, the breach of that standard, and causation.” Ibid. (citation omitted). The court

further observed, however, that “where the absence of professional care is so manifest that within the


                                                 -4-
 Case 1:17-cv-00185-JTN-ESC ECF No. 46 filed 12/29/17 PageID.155 Page 5 of 6



common knowledge and experience of an ordinary layman it can be said that the defendant was

careless, a plaintiff can maintain a malpractice action without offering expert testimony.” Ibid.

(citation omitted). The court nevertheless affirmed the decision to grant Lloyd’s motion for summary

disposition on the following ground:

        Plaintiff’s malpractice claim is based on the argument that defendants were negligent
        in formulating and supporting a response to Norfolk’s motion for summary disposition.
        This involves the implemented litigation strategy. Litigation strategy is not the type
        of knowledge that would be in an ordinary lay juror’s experience. An expert would
        be needed to examine the circumstances of the case and ascertain the applicable
        standard of care, and whether defendant’s breached that standard.

Ibid. (citation omitted).

                In sum, Defendant’s argument that a plaintiff alleging legal malpractice must, in every

case, present expert testimony is simply not accurate. Rather, the question is whether Plaintiff’s

claims of legal malpractice involve matters which “an ordinary lay juror” can understand without the

assistance of an expert. On this question, Defendant offers neither argument nor evidence. Plaintiff

alleges that she hired Defendant to represent her in certain legal matters, but that Defendant, without

authorization or justification, simply abandoned these matters to her detriment.          In the court’s

estimation, an ordinary lay person is more than capable of understanding Plaintiff’s allegations and,

assuming such are established, determining whether such advances Plaintiff’s cause. Accordingly,

the undersigned recommends that Defendant’s motion for summary judgment be denied.

II.             Plaintiff’s Motion for Default

                Plaintiff, citing to Federal Rule of Civil Procedure 55(a), argues that she is entitled to

entry of default because Defendant has “returned. . .without process” several items that she served on

Defendant. Pursuant to Rule 55(a), entry of default is appropriate where a defendant fails to plead or

otherwise defend the claims against him. While Defendant failed to appear at a settlement conference

                                                  -5-
 Case 1:17-cv-00185-JTN-ESC ECF No. 46 filed 12/29/17 PageID.156 Page 6 of 6



as ordered, (ECF No. 31), Defendant timely answered Plaintiff’s complaint and has defended against

Plaintiff’s claims by filing the aforementioned motion for summary judgment. Accordingly, the

Court finds that, at this juncture, entry of default is not warranted.          Accordingly, the Court

recommends that Plaintiff’s motion be denied without prejudice. In the event Defendant, going

forward, disregards motions, discovery requests, or otherwise fails to defend, Plaintiff may again move

the Court for appropriate relief.

                                            CONCLUSION

               For the reasons articulated herein, the undersigned recommends that Defendant’s

Motion for Summary Judgment, (ECF No. 34), be denied; and Plaintiff’s Declaration for Entry of

Default, (ECF No. 38), be denied without prejudice.

               OBJECTIONS to this Report and Recommendation must be filed with the Clerk of

Court within fourteen (14) days of the date of service of this notice. 28 U.S.C. ' 636(b)(1)(C).

Failure to file objections within the specified time waives the right to appeal the District Court=s order.

See Thomas v. Arn, 474 U.S. 140 (1985); United States v. Walters, 638 F.2d 947 (6th Cir.1981).

                                                               Respectfully submitted,




Dated: December 29, 2017                                        /s/ Ellen S. Carmody
                                                               ELLEN S. CARMODY
                                                               U.S. Magistrate Judge




                                                   -6-
